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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON


IN RE CLASSICSTAR MARE LEASE   )
LITIGATION                     )                   MDL No. 1877
                               )
and                            )                  Master File:
                               )          Civil Action No. 07-353-JMH
WEST HILLS FARMS, LLC, et al., )
                               )
     Plaintiffs,               )
                               )
v.                             )
                               )
CLASSICSTAR, LLC, et al.,      )          Civil Action No. 06-243-JMH
                               )
     Defendants.               )          MEMORANDUM OPINION AND ORDER


                                *** *** ***


      This matter is before the Court upon the Motions of GeoStar

Corporation, Tony Ferguson, Thom Robinson, and John Parrott to

Alter or Amend the Court’s Judgment entered with respect to

Plaintiff’s claims [DE 768 and 769].             Plaintiffs have filed a

Response to those motions [DE 771] and a Motion for Entry of Rule

54(b) Certification [DE 772].        Defendants have filed a response to

Plaintiffs’ Motion [DE 781] and replies in further support of their

Motions [DE 780].        Plaintiffs have filed a Reply [DE 782] in

further support of their Motion.

      Defendants argue that this court erroneously certified as

final and appealable that judgment entered on October 11, 2011 [DE

760] and as amended on November 8, 2011 [DE 767] because (1) it did

so without offering a reasoned analysis for its decision to do so
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and (2) Defendants’ cross-claims have not yet been resolved and

remain pending. In their response and by their Motion for Entry of

a certification under Fed. R. Civ. P. 54(b), Plaintiffs concede

that    the   Court    must    offer    a    reasoned      analysis   for     such   a

certification     in   light    of     the   pending       cross-claims.      Unlike

Defendants,      however,     Plaintiffs       urge    the    Court   to     enter   a

certification on the grounds that the Court has adjudicated all of

Plaintiffs’ claims against all Defendants and there is no just

cause for delay the final disposition of those claims, even in

light of Defendants’ cross-claims.

       As an initial matter, the Court has adjudicated all of

Plaintiffs' claims against all Defendants and, frankly, there is

nothing more to say about them.              Those defendants who have filed

cross-claims based on breach of fiduciary duty, fraud, fraud in the

inducement, aiding and abetting, conversion and misappropriation,

breach of contract, unjust enrichment, and theories of contribution

and indemnity against one another may have claims which "arise from

the same operative facts as the plaintiffs' claims," but the

resolution of them will not and does not impact their liability –

joint and several or individual – to Plaintiffs.

       The rules explicitly provide "this court may direct entry of

a final judgment as to one or more, but fewer than all, claims or

parties," Fed. R. Civ. P. 54(b), under appropriate circumstances.

While   "[t]he    District     Court     cannot,      in    the   exercise    of   its


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discretion, treat as ‘final' that which is not ‘final' within the

meaning of § 1291[, . . .] the District Court may, by the exercise

of its discretion in the interest of sound judicial administration,

release for appeal final decisions upon one or more, but less than

all, claims in multiple claims actions...." Sears Roebuck & Co. v.

Mackey, 351 U.S. 427, 437-38 (1956).         When determining if an order

should be certified as final and appealable under Rule 54(b), this

Court may consider this non-exhaustive list of factors:

            (1) the relationship between the adjudicated
            and unadjudicated claims; (2) the possibility
            that the need for review might or might not be
            mooted by future developments in the district
            court; (3) the possibility that the reviewing
            court might be obliged to consider the same
            issue a second time; (4) the presence or
            absence of a claim or counterclaim which could
            result in set-off against the judgment sought
            to be made final; (5) miscellaneous factors
            such   as   delay,   economic   and   solvency
            considerations, shortening the time of trial,
            frivolity of competing claims, expense, and
            the like.


Gen. Acquisition, Inc. v. GenCorp., Inc., 23 F.3d 1022, 1027 (6th

Cir. 1994); Corrosioneering, Inc. v. Thyssen Environmental Sys. 807

F.2d 1279, 1283 (6th Cir. 1986) (citations omitted); Solomon v.

Aetna Life Ins. Co., 782 F.2d 58, 61 n.2 (6th Cir. 1986); Day v.

NLO, Inc., 3 F.3d 153, 155 (6th Cir. 1993).

      Considering first the relationship between the adjudicated

claims   and   unadjudicated    claims,    indemnity    and   liability    are

interrelated but also necessarily considered by the Court in series


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because "indemnity is collateral to and dependent upon a finding of

liability." Corrosioneering, Inc. v. Thyssen Env't Sys., Inc., 807

F.2d 1279, 1284 (6th Cir. 1986).           Notably, the present case is not

in the same posture as that in Corrosioneering, Inc., upon which

Defendants rely in urging the Court not to enter a certification of

finality.    There, the Court of Appeals determined it was improper

to review "a question of indemnity…prior to the consideration on

appeal of the question of whether any liability exists" because a

later determination of liability by the district court could moot

the indemnification issue.         Id.    In other words, while many of the

same facts go to the issues presented in Plaintiffs' claims as they

do with respect to Defendants cross-claims, there is no possibility

that the need for review of the liability issue might be mooted by

future developments in the district court in a decision on the

cross claims.

      Similarly, the Court of Appeals would not need to reconsider

the issue of Defendants' liability to Plaintiffs if and when the

issue of Defendants’ obligations and liability one to another are

decided and subsequently subjected to appeal.               Nor do any of the

cross-claims carry with them the possibility of set-off from the

amount of judgment awarded to Plaintiffs.

      All told, the strongest argument in Defendants' favor is that,

by   forcing    Plaintiffs    to    wait       until   to   appeal   until   the

cross-claims are resolved, Defendants can conserve their resources


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on appeal.         However, considering the distinct nature of the

theories     of    recovery    for     the       Plaintiffs'      claims   and    the

cross-claims between Defendants, the conservation of resources to

be had is limited.        Further, while it is not dispositive of the

issue before the Court by any means, the Court does note that

Plaintiffs have already endured a great burden and expense in

obtaining    the     Judgment.       "An    important      effect    of    a     54(b)

certification      is   that   the    entry       of   judgment    permits     prompt

execution.        When no substantial reason appears why a litigant

should not be entitled to collect upon a claim adjudicated in its

favor immediately, the appellate courts will sustain the entry of

judgment upon that claim by the trial court."               Bank of Lincolnwood

v. Fed. Leasing, Inc., 622 F.2d 944, 951 (7th Cir. 1980). Here, in

light of the factors set forth above, Plaintiffs should not be

forced to further delay collection of their Judgment and await the

outcome of claims asserted amongst the very defendants who injured

them. See id. at 951-52.

      Ultimately, Defendants are correct insofar that Fed. R. Civ.

P. 54(b) demands an express and reasoned determination as to why

there is no just reason to delay appellate review when the Court

decides upon "entry of final judgment as to one or more but fewer

than all the claims or parties in a case," Gen. Acquisition, Inc.,

23 F.3d at 1026.        Rudd Constr. Equip. Co., Inc. v. Home Ins. Co.,

711 F.2d 54, 56 (6th Cir. 1983).             The Court has done so here.


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      Accordingly, IT IS ORDERED:

      (1)   that Defendants' Motions to Alter or Amend the Court's

October 11, 2011 Judgment [DE 768 and 769] are GRANTED IN PART and

DENIED IN PART;

      (2)   that   Plaintiffs'     Motion    for   Entry    of   Rule   54(b)

Certification [DE 772] is GRANTED;

      (3)   that the Court's earlier statement, set forth in the

Amended Judgment of November 8, 2011 [DE 765], that the judgment in

favor of Plaintiffs on their claims was final and appealable is

STRICKEN AND HELD FOR NAUGHT.        An order of judgment, setting forth

the required certification under Fed. R. Civ. P. 54(b) as of this

date, shall be entered separately.

      IT IS FURTHER ORDERED:

      (4)   that the Clerk shall return this matter to the active

docket with respect to the cross-claims of the Defendants;

      (5)   that, within ten (10) days of entry of this order, the

parties to the cross-claims shall file briefs advising the Court of

(a) whether they have any intent to pursue their cross-claims,

particularly in light of their failure to mention them during

pretrial conference and proceedings or to submit jury instructions,

(b) whether any of the cross-claims are now moot or otherwise

unavailable in light of the Court's earlier decisions with respect

to Plaintiffs' claims, and (c) whether these cross-claims stand

ready for trial on June 5, 2012, and the anticipated length of

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trial.

      This the 30th day of March, 2012.




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